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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY
NORTHERN DIVISION (ASHLAND)

 

 

 

MICHAEL McDAVID, : Case No.
Plaintiff, : (Judge )
VS. : DEFENDANT THE AMARILLO
CORPORATION’S NOTICE OF
McDONALD’S CORPORATION, et al, : REMOVAL PURSUANT TO 28
U.S.C, §1441
Defendants.

Comes now Defendant The Amarillo Corporation (“Defendant”), by and through counsel,
and hereby files this Notice of Removal of the above-captioned action from the Carter Circuit
Court, in which this matter is now pending, to the United States District Court for the Eastern
District of Kentucky.

This is a civil action in which the District Courts of the United States have been given
original jurisdiction pursuant to 28 U.S.C. §1331 in that it arises under the laws of the United
States.

Under the provisions of 28 U.S.C. §1441, et seq., the right exists to remove this case from
the Carter Circuit Court to the United States District Court for the Eastern District of Kentucky,
which embraces a place where this action is pending.

On August 6, 2021 Plaintiff served Defendant via certified mail with a copy of the Civil
Summons and Complaint, asserting a federal cause of action under Title VII, the Civil Rights
Act of 1964, 42 U.S.C. §2000e. Thus, it was first ascertained that the case is one which has
become removable on August 6, 2021. As such, this Notice of Removal has been filed within

the time allotted by 28 U.S.C. §1446(b). —
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Pursuant to the provisions of 28 U.S.C. §1446, Defendant attaches herewith and
incorporates herein by reference copies of the following:

A, Complaint filed August 2, 2021 in the Carter Circuit Court, Case No. 21-CI-
00253, and attached hereto as Exhibit A.

B. Civil Summons served upon Defendant on August 6, 2021 via certified mail and
attached hereto as Exhibit B.

C, Civil Summons served on Co-Defendant McDonald’s Corporation on August 9,
2021 via certified mail and attached hereto as Exhibit C.

D. Agreed Order Extending Time to Move, Answer, or Otherwise Plead tendered by
Defendant on August 26, 2021 and attached hereto as Exhibit D.

E, Agreed Order for Enlargement of Time tendered by Co-Defendant McDonald’s
Corporation on August 27, 2021, entered on August 31, 2021, and attached hereto as Exhibit E.

No other pleadings or papers have been filed in this matter or served upon Defendant.
(See copy of Case Docket, attached as Exhibit F.)

Written notice of the filing of this Notice of Removal will be given to the adverse party
as required by law.

Co-Defendant McDonald’s Corporation has consented to the removal pursuant to 28
U.S.C. §1446(b)(2). See Exhibit G, attached.

A true and accurate copy of this Notice of Removal will be filed with the Clerk of the

Carter Circuit Court as required by law.
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WHEREFORE, Defendant prays that this action be removed to this Court and that this
Court accept jurisdiction of this action and henceforth that this action be placed on the docket of
this Court for further proceedings, the same as though this action had originally been instituted in
this Court.
Respectfully submitted,

KOHNEN & PATTON LLP

/s/ Anthony J, Caruso
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Trial Attorney for Defendant The Amarillo
Corporation

CERTIFICATE OF SERVICE

I hereby certify that on September 3, 2021 the foregoing Notice of Removal was filed
electronically. Notice of this filing will be sent to the following parties by operation of the
Court’s electronic filing system and via regular U.S. mail.

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/s/ Anthony J. Caruso
Anthony J. Caruso

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